Case 21-30085-hdh11 Doc 84-5 Filed 01/29/21   Entered 01/29/21 21:18:02   Page 1 of 6




               Exhibit E
Case 21-30085-hdh11 Doc 84-5 Filed 01/29/21                    Entered 01/29/21 21:18:02             Page 2 of 6




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

    IN RE:                                                    §        CHAPTER 11
                                                              §
                                                              §
    NATIONAL RIFLE ASSOCIATION OF                             §        CASE NO. 21-30085-hdh11
    AMERICA and SEA GIRT LLC                                  §
                                                              §
                DEBTORS1                                      §        JOINTLY ADMINISTERED


      DISCLOSURE PURSUANT TO 11 U.S.C. § 329 AND RULE 2016(b) OF THE
    FEDERAL RULES OF BANKRUPTCY PROCEDURE OF COMPENSATION TO
                  BREWER, ATTORNEYS & COUNSELORS

            I am a partner at Partner at Brewer, Attorneys & Counselors (“BAC”), proposed

    special counsel for the Debtors and Debtors in Possession (together, the “Debtors”).2 I

    hereby make the following disclosures on behalf of BAC pursuant to, among other

    things, 11 U.S.C. § 329 and Rule 2016(b) of the Federal Rules of Bankruptcy Procedure:

            1.       On January 15, 2021, the Debtors filed voluntary petitions for relief under

    chapter 11, title 11 of the United States Code (the “Bankruptcy Code”).

            2.       Contemporaneously with the filing of this disclosure, the Debtors are

    filing an Application for an Order Authorizing and Approving the Retention and

    Employment, effective as of the Petition Date, of BAC as Special Counsel for the

    Debtors pursuant to, among other things, 11 U.S.C. § 329(e).

            1
               The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681
    (Sea Girt). The Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.

            2
                Terms not otherwise defined herein maintain the definitions previously described to them in the
    Debtor’s Application for an Order Authorizing and Approving the Retention and Employment, effective as
    of the Petition Date, of Brewer, Attorneys & Counselors as Special Counsel for the Debtors.



    DISCLOSURE PURSUANT TO 11 U.S.C. § 329 AND RULE 2016(b) OF THE FEDERAL RULES OF
    BANKRUPTCY PROCEDURE OF COMPENSATION TO BREWER, ATTORNEYS & COUNSELORS   PAGE 1
Case 21-30085-hdh11 Doc 84-5 Filed 01/29/21            Entered 01/29/21 21:18:02        Page 3 of 6




           3.      Under Local Bankruptcy Rule (the “Local Rule”) 2014-1(a), “[a] motion

    for employment by an attorney for the debtor . . . shall have attached the statement

    required by Bankruptcy Rule 2016(b) and 11 U.S.C. § 329.”

           4.      Section 329 of the Bankruptcy Code calls for a “statement of [1] the

    compensation paid or agreed to be paid, if such payment or agreement was made after

    one year before the date of the filing of the petition, for services rendered or to be

    rendered in contemplation of or in connection with the case by such attorney, and [2] the

    source of such compensation.”

           5.      Rule 2016(b) of the Federal Rules of Bankruptcy Procedure requires

    disclosure of “whether the attorney has shared or agreed to share the compensation with

    any other entity.” Furthermore, such disclosure “shall include the particulars of any such

    sharing or agreement to share by the attorney that shared or agreed to share the

    compensation with any other entity.” Id.

           6.      During the year leading up to the filing of the Petitions, BAC rendered to

    the Prepetition Entities services that relate to the chapter 11 filings and therefore may be

    argued to have been or deemed to have been “in contemplation of [and/or] in connection

    with” the chapter 11 cases. Out of an abundance of caution, BAC therefore files this

    disclosure and states that the total amount of payments for such services is $794,582.50.

    The source of such compensation is the National Rifle Association of America.

           7.      BAC has not shared or agreed to share any portion of its compensation for

    such services with any other person, except to the extent fees are shared among BAC

    partners.




    DISCLOSURE PURSUANT TO 11 U.S.C. § 329 AND RULE 2016(b) OF THE FEDERAL RULES OF
    BANKRUPTCY PROCEDURE OF COMPENSATION TO BREWER, ATTORNEYS & COUNSELORS   PAGE 2
Case 21-30085-hdh11 Doc 84-5 Filed 01/29/21             Entered 01/29/21 21:18:02        Page 4 of 6




           8.       In return for the above-disclosed compensation, BAC agreed to provide

    certain legal services to the NRA, including but not limited to, those related to:

           (a) Strategic advice to the Prepetition Entities in conjunction with contemplated

                 chapter 11 filings; and

           (b) Preparation of petitions, First Day Motions, schedules, statement of financial

                 affairs and other documents and court filings.

           9.       There was not an agreement made after one year before the date of the

    filing of the petitions regarding any additional compensation to be paid to BAC for such

    services.

           10.      In addition, prior to filing the above-captioned action, the NRA transferred

    to BAC a retainer amount (the “Retainer”).

           11.      I hereby certify that BAC is compliant with Local Rule 2016-1. BAC

    deposited the Retainer in a trust account (the “Trust Account”). The amount in the Trust

    Account is $2,551,039.54. No portion of the Retainer will be withdrawn unless such

    withdrawal complies with all applicable laws, rules, and court orders.

           12.      Any excess pre-petition fees and expenses in excess of pre-petition

    payments to BAC were written off. Therefore, BAC was paid in full for its pre-petition

    work prior to the commencement of these chapter 11 cases.

           13.      BAC has not received any other compensation that it believes may be

    deemed to be for services rendered in contemplation of or in connection with these

    chapter 11 cases, nor does it have any other agreement for payment of such

    compensation.




    DISCLOSURE PURSUANT TO 11 U.S.C. § 329 AND RULE 2016(b) OF THE FEDERAL RULES OF
    BANKRUPTCY PROCEDURE OF COMPENSATION TO BREWER, ATTORNEYS & COUNSELORS   PAGE 3
Case 21-30085-hdh11 Doc 84-5 Filed 01/29/21         Entered 01/29/21 21:18:02     Page 5 of 6




           14.    I certify that the foregoing is a complete statement of any agreement or

    arrangement for payment to BAC for services to the Debtors that may be argued or

    deemed to have been in contemplation of or in connection with these chapter 11 cases

    within the meaning of 11 U.S.C. 329(a).


    Respectfully submitted this 29th day of January 2021.


                                        BREWER, ATTORNEYS & COUNSELORS


                                        /s/ Michael J. Collins
                                        Michael J. Collins
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                                        State Bar No. 00785493
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                                        PROPOSED SPECIAL
                                        COUNSEL FOR
                                        THE DEBTORS AND
                                        DEBTORS IN POSSESSION




    DISCLOSURE PURSUANT TO 11 U.S.C. § 329 AND RULE 2016(b) OF THE FEDERAL RULES OF
    BANKRUPTCY PROCEDURE OF COMPENSATION TO BREWER, ATTORNEYS & COUNSELORS   PAGE 4
Case 21-30085-hdh11 Doc 84-5 Filed 01/29/21          Entered 01/29/21 21:18:02       Page 6 of 6




                                CERTIFICATE OF SERVICE

           Pursuant to Rule 2016(b) of the Federal Rules of Bankruptcy Procedure, I hereby

    certify that on, January 29th, 2021, a true and correct copy of the foregoing disclosures

    was transmitted to Elizabeth A. Young, Trial Attorney, Office of the United States

    Trustee, and also served upon Ms. Young through the Court’s ECF noticing system.


                                                    By: /s/ Michael J. Collins
                                                        Michael J. Collins




    DISCLOSURE PURSUANT TO 11 U.S.C. § 329 AND RULE 2016(b) OF THE FEDERAL RULES OF
    BANKRUPTCY PROCEDURE OF COMPENSATION TO BREWER, ATTORNEYS & COUNSELORS   PAGE 5
